      Case 1:23-cv-00142-BLW           Document 192     Filed 07/01/25   Page 1 of 12



Colleen R. Smith (ISB No. 10023)
Stris & Maher LLP
American Civil Liberties Union of
   Idaho Foundation Cooperating Attorney
1717 K Street NW, Suite 900
Washington, DC 20006
T: 202-800-5749
csmith@stris.com

Attorney for Plaintiffs

Additional counsel for Plaintiffs identified on
following page

                                UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF IDAHO
                                     SOUTHERN DIVISION

 PLANNED PARENTHOOD GREAT
 NORTHWEST, HAWAII, ALASKA, INDIANA,
 KENTUCKY, on behalf of itself, its staff, physicians
 and patients, CAITLIN GUSTAFSON, M.D., on
 behalf of herself and her patients, and DARIN L.           Case No. 1:23-cv-00142-BLW
 WEYHRICH, M.D., on behalf of himself and his
 patients,                                                  NOTICE OF VOLUNTARY
                Plaintiffs,                                 DISMISSAL
         v.

 RAÚL LABRADOR, in his official capacity as
 Attorney General of the State of Idaho; COUNTY
 PROSECUTING ATTORNEYS, in their official
 capacities,

                Defendants.
      Case 1:23-cv-00142-BLW         Document 192     Filed 07/01/25      Page 2 of 12



Katherine V. Mackey*                         Andrew Beck*
Wilmer Cutler Pickering                      Meagan Burrows*
   Hale and Dorr LLP                         Ryan Mendías*
60 State Street                              Scarlet Kim*
Boston, MA 02109                             American Civil Liberties Union Foundation
T: 617-526-6993                              125 Broad Street, 18th Floor
F: 617-526-5000                              New York, NY 10004
katherine.mackey@wilmerhale.com              T: 212-549-2633
                                             F: 212-549-2649
Peter G. Neiman*                             abeck@aclu.org
Alan E. Schoenfeld*                          mburrows@aclu.org
Michelle Nicole Diamond*                     rmendias@aclu.org
Wilmer Cutler Pickering                      scarletk@aclu.org
   Hale and Dorr LLP
7 World Trade Center                         Paul Carlos Southwick (ISB No. 12439)
New York, NY 10007                           Emily Myrei Croston (ISB No. 12389)
T: 212-230-8800                              American Civil Liberties Union Foundation
F: 212-230-8888                                 of Idaho
peter.neiman@wilmerhale.com                  P.O. Box 1897
alan.schoenfeld@wilmerhale.com               Boise, Idaho, 83701
michelle.diamond@wilmerhale.com              T: 208-344-9750
                                             psouthwick@acluidaho.org
Attorneys for Plaintiffs                     ecroston@acluidaho.org

Jennifer R. Sandman*                         Attorneys for Physician Plaintiffs
C. Peyton Humphreville*
Planned Parenthood Federation of America     * Admitted pro hac vice
123 William Street
New York, NY 10038
212-965-7000
jennifer.sandman@ppfa.org
peyton.humphreville@ppfa.org

Michael J. Bartlett (ISB No. 5496)
Bartlett & French LLP
1002 W Franklin St.
Boise, Idaho 83702
T: 208-629-2311
F: 208-629-2460
Michael@BartlettFrench.com

Attorneys for Plaintiff Planned Parenthood
Great Northwest, Hawaii, Alaska, Indiana,
Kentucky
     Case 1:23-cv-00142-BLW            Document 192        Filed 07/01/25      Page 3 of 12



       Pursuant to Rule 41(a)(1)(A)(i) of the Federal Rules of Civil Procedure, Plaintiffs, and their

counsel, hereby give notice that the above-captioned action is voluntarily dismissed, without

prejudice, against the following Defendants, who have not filed an answer to the complaint or a

motion for summary judgment:

       1. Adams County Prosecutor

       2. Bannock County Prosecutor

       3. Bear Lake County Prosecutor

       4. Benewah County Prosecutor

       5. Bingham County Prosecutor

       6. Blaine County Prosecutor

       7. Boise County Prosecutor

       8. Bonner County Prosecutor

       9. Bonneville County Prosecutor

       10. Boundary County Prosecutor

       11. Butte County Prosecutor

       12. Camas County Prosecutor

       13. Canyon County Prosecutor

       14. Caribou County Prosecutor

       15. Cassia County Prosecutor

       16. Clark County Prosecutor

       17. Clearwater County Prosecutor

       18. Custer County Prosecutor

       19. Elmore County Prosecutor

       20. Franklin County Prosecutor
Case 1:23-cv-00142-BLW           Document 192   Filed 07/01/25   Page 4 of 12



 21. Fremont County Prosecutor

 22. Gem County Prosecutor

 23. Gooding County Prosecutor

 24. Idaho County Prosecutor

 25. Jefferson County Prosecutor

 26. Jerome County Prosecutor

 27. Kootenai County Prosecutor

 28. Latah County Prosecutor

 29. Lemhi County Prosecutor

 30. Lewis County Prosecutor

 31. Lincoln County Prosecutor

 32. Madison County Prosecutor

 33. Minidoka County Prosecutor

 34. Nez Perce County Prosecutor

 35. Oneida County Prosecutor

 36. Owyhee County Prosecutor

 37. Payette County Prosecutor

 38. Power County Prosecutor

 39. Shoshone County Prosecutor

 40. Teton County Prosecutor

 41. Twin Falls County Prosecutor

 42. Washington County Prosecutor
     Case 1:23-cv-00142-BLW   Document 192      Filed 07/01/25   Page 5 of 12



Dated: July 1, 2025               Respectfully submitted,

                                  /s/ Katherine V. Mackey
                                  Katherine V. Mackey*
                                  Wilmer Cutler Pickering Hale and Dorr LLP
                                  60 State Street
                                  Boston, MA 02109
                                  T: 617-526-6993
                                  F: 617-526-5000
                                  katherine.mackey@wilmerhale.com

                                  Peter G. Neiman*
                                  Alan E. Schoenfeld*
                                  Michelle Nicole Diamond*
                                  Wilmer Cutler Pickering Hale and Dorr LLP
                                  7 World Trade Center
                                  New York, NY 10007
                                  T: 212-230-8800
                                  F: 212-230-8888
                                  peter.neiman@wilmerhale.com
                                  alan.schoenfeld@wilmerhale.com
                                  michelle.diamond@wilmerhale.com

                                  Colleen R. Smith (ISB No. 10023)
                                  Stris & Maher LLP
                                  American Civil Liberties Union of
                                     Idaho Foundation Cooperating Attorney
                                  1717 K Street NW, Suite 900
                                  Washington, DC 2006
                                  T: 202-800-5749
                                  csmith@stris.com

                                  Attorneys for Plaintiffs

                                  Jennifer R. Sandman*
                                  C. Peyton Humphreville*
                                  Planned Parenthood Federation of America
                                  123 William Street
                                  New York, NY 10038
                                  T: 212-965-7000
                                  jennifer.sandman@ppfa.org
                                  peyton.humphreville@ppfa.org
Case 1:23-cv-00142-BLW   Document 192      Filed 07/01/25     Page 6 of 12



                             Michael J. Bartlett (ISB No. 5496)
                             Bartlett & French LLP
                             1002 W Franklin St.
                             Boise, Idaho 83702
                             T: 208-629-2311
                             F: 208-629-2460
                             Michael@BartlettFrench.com

                             Attorneys for Plaintiff Planned Parenthood
                             Great Northwest, Hawaii, Alaska, Indiana,
                             Kentucky

                             Andrew Beck*
                             Meagan Burrows*
                             Ryan Mendías*
                             Scarlet Kim*
                             American Civil Liberties
                                Union Foundation
                             125 Broad Street, 18th Floor
                             New York, NY 10004
                             T: 212-549-2633
                             F: 212-549-2649
                             abeck@aclu.org
                             mburrows@aclu.org
                             rmendias@aclu.org
                             scarletk@aclu.org

                             Paul Carlos Southwick (ISB No. 12439)
                             Emily Myrei Croston (ISB No. 12389)
                             American Civil Liberties Union
                                Foundation of Idaho
                             P.O. Box 1897
                             Boise, Idaho, 83701
                             T: 208-344-9750
                             psouthwick@acluidaho.org
                             ecroston@acluidaho.org

                             Attorneys for Physician Plaintiffs

                             * Admitted pro hac vice
      Case 1:23-cv-00142-BLW           Document 192           Filed 07/01/25   Page 7 of 12




                                CERTIFICATE OF SERVICE

       I hereby certify that on July 1, 2025, I filed the foregoing electronically through the

CM/ECF system, which caused the following parties or counsel to be served by electronic means,

as more fully reflected on the Notice of Electronic Filing:

       Raul R. Labrador
       Office of the Attorney General State of Idaho
       954 W. Jefferson St., 2nd Floor
       P.O. Box 83720
       Boise, ID 83720-0010

       Jan M. Bennetts
       Ada County Prosecuting Attorney
       Ada County Prosecutor’s Office
       200 West Front Street, Room 3191
       Boise, ID 83702

       Christopher D. Boyd
       Adams County Prosecuting Attorney
       201 Industrial Ave. Council, ID 83612
       P.O. Box 604
       Council, ID 83612

       Andrakay J. Pluid
       Boundary County Prosecuting Attorney
       6452 Kootenai Street, Room 12
       P.O. Box 1148
       Bonners Ferry, ID 83805

       Steve Stephens
       Butte County Prosecuting Attorney
       P.O. Box 736
       Arco, ID 83327

       Jim Thomas
       Camas County Prosecuting Attorney
       501 Soldier Road
       P.O. Box 160
       Fairfield, ID 83327

       McCord Larsen
       Cassia County Prosecuting Attorney
       1459 Overland Ave. 3rd Floor
       P.O. Box 7
Case 1:23-cv-00142-BLW        Document 192   Filed 07/01/25   Page 8 of 12




 Burley, ID 83318

 E. Clayne Tyler
 Clearwater County Prosecuting Attorney
 106 Michigan Ave.
 Orofino, ID 83544

 Trevor Misseldine
 Gooding County Prosecuting Attorney
 624 Main Street
 Gooding, ID 83330

 Mark Taylor
 Jefferson County Prosecuting Attorney
 Jefferson County Courthouse
 210 Courthouse Way
 Suite 220
 Rigby, ID 83442

 Rob Wood
 Madison County Prosecuting Attorney
 Madison County Clerk’s Office
 134 E Main Street
 Rexburg, ID 83440

 Lance Stevenson
 Minidoka County Prosecuting Attorney
 P.O. Box 368
 Rupert, ID 83350

 Cody L. Brower
 Oneida County Prosecuting Attorney
 10 W. Court Street
 Malad, ID 83252

 Ben Allen
 Shoshone County Prosecuting Attorney
 Shoshone County Courthouse
 700 Bank Street, Suite 200
 Wallace, ID 83873

 Grant P. Loebs
 Twin Falls County Prosecuting Attorney
 425 Shoshone Street North
 Third Floor
 P. O. Box 126
Case 1:23-cv-00142-BLW       Document 192   Filed 07/01/25   Page 9 of 12




 Twin Falls, ID 83303-0126

 Brian Naugle
 Valley County Prosecuting Attorney
 Valley County Courthouse
 219 N. Main Street
 Cascade, ID 83611

 Stephen F. Herzog
 Bannock County Prosecuting Attorney
 624 E Center Street, Room 204
 Pocatello, ID 83201

 Adam McKenzie
 Bear Lake County Prosecuting Attorney
 Bear Lake County Courthouse
 30 N Main Street
 P.O. Box 190
 Paris, ID 83261

 Mariah R. Dunham
 Benewah County Prosecuting Attorney
 701 W College Ave., Suite 201
 St. Maries, Idaho 83861

 Paul Rogers
 Bingham County Prosecuting Attorney
 501 N Maple Street
 Blackfoot, Idaho

 Matt Fredback
 Blaine County Prosecuting Attorney
 219 South 1st Ave.
 Suite 201
 Hailey, ID 83333

 Louis Marshall
 Bonner County Prosecuting Attorney
 1500 Highway 2
 Sandpoint, ID 83864

 Randy Neal
 Bonneville County Prosecuting Attorney
 605 N Capital Ave.
 Idaho Falls, Idaho 83402

 Shondi Lott
Case 1:23-cv-00142-BLW       Document 192   Filed 07/01/25   Page 10 of 12




 Elmore County Prosecuting Attorney
 Elmore County Courthouse Annex
 190 South 4th East Street
 Mountain Home Idaho 83647

 Lindsey Blake
 Fremont County Prosecuting Attorney
 22 W. 1st North, Street
 St. Anthony, ID 83445

 Kirk A MacGregor
 Idaho County Prosecutor
 416 West Main Street
 PO Box 463
 Grangeville, Idaho 83530

 Brad Calbo
 Jerome County Prosecuting Attorney
 Jerome County Judicial Annex
 233 W Main Street
 Jerome, ID 83338

 Stanley Mortensen
 Kootenai County Prosecuting Attorney
 501 Government Way
 Coeur d’Alene, ID 83814

 Bill Thompson
 Latah County Prosecuting Attorney
 Latah County Courthouse
 522 S Adams Street
 Moscow, ID 83843

 Zachary Pall
 Lewis County Prosecutor
 Lewis County Courthouse
 510 Oak Street #2
 Nezperce, ID 83543

 Christopher Topmiller
 Owyhee County Prosecuting Attorney
 P.O. Box 128
 Murphy, ID 83650

 Mike Duke
 Payette County Prosecuting Attorney
Case 1:23-cv-00142-BLW       Document 192        Filed 07/01/25   Page 11 of 12




 1115 1st. Ave. N.
 Payette, ID 83661

 Delton L. Walker
 Washington County Prosecuting Attorney
 Walker Law Office
 232 E Main Street
 Weiser, ID 83672

 Janna Birch
 Clark County Prosecuting Attorney
 P.O. Box 2869
 Idaho Falls, ID

 Richard Roats
 Lincoln County Prosecuting Attorney
 111 West B Street
 P.O. Box 860
 Shoshone, ID 83352

 Bryan Taylor
 Canyon County Prosecuting Attorney
 1115 Albany Street
 Caldwell, ID 83605

 S. Doug Wood
 Caribou County Prosecuting Attorney
 159 South Main Street
 Soda Springs, ID 83276

 Vic A. Pearson
 Franklin County Prosecuting Attorney
 Franklin County Prosecuting Attorney's Office
 39 West Oneida
 Preston, ID 83263

 Erick Thomson
 Gem County Prosecuting Attorney
 306 E. Main Street
 Emmett, ID 83617

 Justin Coleman
 Nez Perce County Prosecuting Attorney
 1113 F Street
 Lewiston, ID 83501
     Case 1:23-cv-00142-BLW          Document 192       Filed 07/01/25      Page 12 of 12




       Jason E. “Mack” Mackrill
       Power County Prosecuting Attorney
       Power County Courthouse
       543 Bannock Ave.
       American Falls, ID 83211

       Bailey A. Smith
       Teton County Prosecuting Attorney
       Law Enforcement Center
       230 N Main Street, Suite 125
       Driggs, ID 83422

       And I FURTHER CERTIFY that on such date I served the foregoing on the following

non-CM/ECF registered participants via U.S. first class mail, postage prepaid addressed as

follows:

       Justin Oleson
       Custer County Prosecuting Attorney
       521 E. Main Ave.
       PO Box 630
       Challis, ID 83226-0630

       Alex Sosa
       Boise County Appointed Prosecuting Attorney
       406 Montgomery Street
       P.O. Box 186
       Idaho City, Idaho 83631

       Paul Withers
       Lemhi County Prosecutor
       1301 Main Street, Suite 6
       Salmon, ID 83467


                                                           /s/ Katherine V. Mackey
                                                           Katherine V. Mackey
